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                      UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF NEW HAMPSHIRE



United States of America

             v.                                  Case No. 07-cr-130-01/04-SM

Corey Donovan, Micah Donovan,
Ian Burns and Jay Lawrence


                                        ORDER



       Defendants Ian Burns and Micah Donovan's assented-to motions to continue the trial

(document no. 37 and 38) are granted. Trial has been rescheduled for the October 2007

trial period. Defendants Burns and Micah Donovan shall file a Waiver of Speedy Trial Rights

not later than June 29, 2007. On the filing of the waivers, their continuances shall be

effective.

       The court finds that the ends of justice served by granting a continuance outweigh

the best interest of the public and the defendant in a speedy trial, 18 U.S.C. §

3161(h)(8)(B)(iv), in that failure to grant a continuance would unreasonably deny the

defendant the reasonable time necessary for effective preparation taking into account the
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exercise of due diligence under the circumstances.

      Final Pretrial Conference: September 28, 2007 at 4:30 PM

      Jury Selection:             October 10, 2007 at 9:30 AM

      SO ORDERED.



June 22, 2007                            _________________________
                                         Steven J. McAuliffe
                                         Chief Judge

cc: Terry Ollila, Esq.
    Liam D. Scully, Esq.
    Mark Sisti, Esq.
    Paul Garrity, Esq.
    Sven Wiberg, Esq.
    U. S. Probation
    U. S. Marshal




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